  Case 8:18-cv-01799-GW-ADS Document 55 Filed 07/09/20 Page 1 of 1 Page ID #:492


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 18-1799-GW-ADSx                                          Date      July 9, 2020
 Title             Adrienne Morris v. Motts LLP




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                         Katie E. Thibodeaux
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Michael T. Houchin                                     Charles C. Sipos
                                                                            Lauren W. Staniar
 PROCEEDINGS:                TELEPHONIC ORDER TO SHOW CAUSE RE SETTLEMENT


Settlement is being finalized. For reasons stated on the record, the hearing is continued to September 28,
2020 at 8:30 a.m. Counsel are to file a dismissal or a joint status report by noon on September 23, 2020.




                                                                                                   :      04
                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                    Page 1 of 1
